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14                      UNITED STATES BANKRUPTCY COURT
              CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
15
16   In re                                       Case No: 2:17-bk-22804-WB

17   MARIO CARDONA,                              Adversary No.: 2:18-ap-01381-WB
18
                      Debtor.                    Before the Honorable Julia W. Brand
19
     DANIEL GARZA                                Chapter 7
20
21                    Plaintiff                  PLAINTIFF’S OPPOSITION TO
                                                 DEFENDANT’S MOTION TO STRIKE
22   vs.                                         DECLARATION OF KAVEH NAVAB AS TO
                                                 THE ADMISSION OF VIDEO TRANSCRIPT
23   MARIO G. CARDONA                            IN SUPPORT OF PLAINTIFF’S REPLY TO
24                                               DEFENDANT’S RESPONSES TO MOTION
                     Defendant                   FOR SUMMARY JUDGMENT
25
                                                 Date:    February 11, 2020
26                                               Time:    2:00 pm
27                                               Crtrm:   1375
                                                 Place:   255 E. Temple St, Los Angeles
28


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                   PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO STRIKE
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1           TO THE HONORABLE COURT, ALL PARTIES, AND THEIR RESPECTIVE
2    COUNSEL OF RECORD:
3           PLEASE TAKE NOTICE Plaintiff, DANIEL GARZA (hereinafter “Plaintiff”), by and
4    through his attorney of record, hereby opposes Defendant, MARIO G. CARDONA’s (hereinafter
5    “Defendant”) Motion to Strike Declaration of Kaveh Navab as to the Admission of Video
6    Transcript in Support of Plaintiff’s Reply to Defendant’s Response to Motion for Summary
7    Judgment (Dkt. 61).
8           Defendant filed a motion to strike the certified transcript of the video recording of assault
9    and use for excessive force by Defendant against Plaintiff. Defendant’s motion is made pursuant

10   to LBR 9013-1 which states in relevant part that, declarations or other evidence attached to the

11   reply memorandum must respond directly to the opposition documents. Defendants motion to

12   strike must be denied.

13          Here, the certified transcript if highly relevant as it responding to the Declaration of Mario

14   Cardona (Dkt. 48) in which Cardona attempts to relegate the facts of the underly United States

15   District Court (“USDC”) verdict. The transcript of the video is the best evidence in rebuttal to

16   Cardona’s declaration as it demonstrates that Cardona was acting in a willful and malicious

17   manner toward Plaintiff when he used unreasonable force against Plaintiff, including placing him

18   in a painful wrist lock when he was subdued and not resisting. This is evidenced through the

19   transcript by the intentional nature of Cardona’s actions and when Cardona is asked by the

20   passerby Daniel Laughlin (who testified in the USDC) that what he was doing “looks like it hurts”

21   to which Cardona responded “it does!”. As such, the certified transcript of the video taken and

22   used during the USDC trial is highly relevant and admissible as it responds directly to evidence

23   raised by Defendant in his Reply to Plaintiff’s Motion for Summary Judgement. The Court should

24   deny Defendants motion to strike.

25   DATE: February 10, 2020                     LAW OFFICE OF BARUCH C. COHEN, APLC
26
27                                               /s/ Baruch C. Cohen
                                                 Baruch C. Cohen, Esq.
28                                               Attorneys for Creditor DANIEL GARZA



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                   PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO STRIKE
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                     4929 Wilshire Boulevard, Suite 940, Los Angeles CA 90010

A true and correct copy of the foregoing document entitled PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO
STRIKE DECLARATION OF KAVEH NAVAB AS TO THE ADMISSION OF VIDEO TRANSCRIPT IN SUPPORT OF
PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSES TO MOTION FOR SUMMARY JUDGMENT will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On February
10, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Nancy K Curry (TR)                       TrusteeECFMail@gmail.com
Marcus G Tiggs (DF)                      mtiggs@lawbwl.com, bribwl@gmail.com
United States Trustee (LA)               ustpregion16.la.ecf@usdoj.gov
Baruch C Cohen (PL)                      bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On February 10, 2020, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on February 10, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Julia W. Brand, Roybal Federal Bldg. & Courthouse, 255 E. Temple St, Ste 1382, Los Angeles CA 90012




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 10, 2020                Baruch C. Cohen                                               /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
